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 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JON D. GRUBER, Individually and
 on Behalf of All Others
 Similarly Situated,                           16-cv-9727 (JSR)

                   Plaintiff,                  OPINION AND ORDER

                   -v-

 RYAN R. GILBERTSON ET AL.,

              Defendants.


JED S. RAKOFF, U.S.D.J.:

     After six years, one pandemic, two judges, two proposed class

settlements, and one jury trial, this case finally nears completion.

What remains are various damages issues pertaining to non-settling

defendant Michael Reger, whom a jury found liable for securities fraud

following a seven-day trial; the final approval of two proposed class

action settlements, including the award of attorneys’ fees; and,

ultimately, the distribution of damages to class members. This Opinion

and Order addresses these remaining issues.

     I.     The damages award against defendant Michael Reger

     Familiarity with the facts of this case is assumed. 1 As relevant
                                                                  0F




here, a jury found defendant Reger liable for intentionally defrauding




     1 These facts are described in detail in this Court’s September
14, 2022 Opinion and Order denying defendant Reger’s motion for a new
trial or for judgment notwithstanding the verdict. See Gruber v.
Gilbertson, No. 16-cv-97272, 2022 WL 4232834 (S.D.N.Y. Sept. 14, 2022).
Also, all capitalized terms here used refer to the definitions set
forth in that Order, unless otherwise specified. All internal quotation
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investors   in   Dakota   Plains   Holdings,    Inc.     (“Dakota   Plains”)   by

concealing his substantial ownership of the company. Verdict Form,

Dkt. 483, at 1-2. Prior to trial, Reger and plaintiffs agreed that any

apportionment of responsibility required under the Private Securities

Litigation Reform Act (“PSLRA”) would be made by the Court, rather

than by the jury. See Minute Order dated 6/6/22. Certain other issues

regarding how to calculate damages and whether to award prejudgment

interest also remain open.

            A. Whether the Judgment against Reger must be offset for
               Gilbertson’s percentage of responsibility.

     The most significant remaining damages issue is whether the PSRLA

requires that the judgment against defendant Reger be offset to take

into account the percentage of responsibility of his co-defendant,

Ryan Gilbertson, with whom Reger founded Dakota Plains and who earlier

this year reached a proposed cashless settlement with the plaintiff

class in exchange for his testimony against Reger. 2 This question
                                                               1F




arises because a provision of the PSLRA -- hereinafter referred to as

the “settlement offset provision” -- requires any judgment or verdict




marks, alterations, omissions,        emphases,    and    citations   have   been
omitted from all cited sources.
     2 Gilbertson was separately criminally prosecuted by the
Department of Justice and sued by the Securities and Exchange
Commission in connection with his role in the Dakota Plains fraud.
As a result of substantial financial penalties imposed in connection
with his criminal conviction and sizeable payments made in
connection with his settlement with the SEC, Gilbertson seemingly
lacks substantial assets that might have supported a cash settlement
with the plaintiff class.

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against a defendant in a securities case be reduced by the greater of

the cash amount of any settlement reached with another defendant or

by   the    settling   defendant’s    percentage      of   responsibility    in   the

relevant fraud. 15 U.S.C. § 78u-4(f)(7)(B).

      Plaintiffs agree that the judgment against defendant Reger should

be reduced by at least the amount of the $13.95 million settlement

they reached with Dakota Plains former officers and directors (the

“O&D defendants”). See Pls. Supp. Mem. on Damages and Apportionment

at 12, Dkt. 531. But as to defendant Ryan Gilbertson, who settled for

$0, plaintiffs dispute the need for any offset. First, they contend

that, when read in its statutory context, the settlement offset

provision does not actually require offset where a defendant knowingly

violated the securities laws. Second, they argue that Reger waived any

right to an offset. As explained below, both arguments fail.

      1. The statute plainly requires            an    offset   for   Gilbertson’s
         percentage of responsibility.

      “If a covered person enters into a settlement with the plaintiff

prior to final verdict or judgment, the verdict or judgment shall be

reduced by the greater of -- (i) an amount that corresponds to the

percentage of responsibility of that covered person; or (ii) the amount

paid to the plaintiff by that covered person.” 15 U.S.C. § 78u-

4(f)(7)(B) (emphasis added). No one disputes that Gilbertson is such

a “covered person.” Id. § 78u-4(f)(10)(C) (defining the term “covered

person” to mean, among other things, any defendant in a securities

action). And Gilbertson plainly “enter[ed] into a settlement with the


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plaintiff” prior to the final verdict against Reger. See Gilbertson

Stipulation and Agreement of Settlement, Dkt. 461-7. Since the amount

of Gilbertson’s settlement was $0 -- and, whatever Gilbertson’s precise

share of responsibility for the fraud in question, no party contends

it was 0% -- the statute requires a reduction in the judgment against

Reger based on Gilbertson’s “percentage of responsibility” for the

loss as to which Reger was found liable.

     Plaintiffs contend that this seemingly clear language is in fact

“silent” as to what happens where, as here, the person against whom a

verdict is entered knowingly violated securities laws. Pls. Supp. Mem.

on Damages and Apportionment at 11, Dkt. 531. This because of a

separate provision of the PSLRA concerning the calculation of an

individual defendant’s liability. That provision states that when a

person is found to have “knowingly committed a violation of the

securities   laws,”   she   “shall   be   liable   for   damages   jointly   and

severally.” 15 U.S.C. § 78u-4(f)(2)(A). By contrast, when the person

is not found to have knowingly violated the securities laws, that

person “shall be liable solely for the portion of the judgment that

corresponds to the percentage of responsibility of that covered person.

. . .” Id. § 78u-4(f)(2)(B)(i). At least as to Count I -- which charged

Reger with “intentionally failing to disclose” his ownership in Dakota

Plains -- the jury found that Reger knowingly violated the securities

laws, making him jointly and severally liable under this provision.

See Jury Instructions at 16, Dkt. 478; Verdict Form at 1, Dkt. 483.



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     Given this finding -- that Reger’s individual liability is not

limited to his “percentage of responsibility” for any loss his fraud

caused plaintiffs and that he may instead be held jointly and severally

liable -- plaintiffs contend that it would make no sense to allow the

judgment against him to be offset for Gilbertson’s “percentage of

responsibility” as the settlement offset provision appears to require.

Plaintiffs point out that, had they not settled with Gilbertson (or

had they waited to settle until after obtaining a judgment against

Reger),    Reger     would   not    have    been   entitled       to    this   offset.      To

plaintiffs, this result appears arbitrary and would disincentivize

securities     plaintiffs       from       settling    claims      against          cash-poor

defendants such as Gilbertson until after they have already sought

judgments against cash-rich defendants.

     These     are     reasonable      concerns.      In    one    of    the       few   cases

interpreting     the    PSLRA’s     settlement     offset     provision,       Judge     Cote

previously called “debatable” and even “destructive” the incentive it

creates for securities plaintiffs to delay settling with cash-poor

defendants until after they have already achieved verdicts against

deep-pocketed and potentially jointly and severally liable defendants.

In re WorldCom, Inc. Secs. Litig., No. 02-cv-3288, 2005 WL 335201, at

*14-15 (S.D.N.Y. Feb. 14, 2005). Notwithstanding that problematic

incentive, however, Judge Cote found that the statutory language

clearly required that any judgment be offset to take into account the

greater of the settling defendant’s cash payment or percentage of

responsibility.        Id.   This   Court    agrees.       This   is    not    a    case,   as

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plaintiffs     contend,      where      statutory        context        informs    otherwise

ambiguous meaning -- indeed, in their many filings on this issue,

plaintiffs have yet to identify any specific statutory language they

contend is ambiguous. Rather, plaintiffs essentially propose inserting

into the settlement offset provision an explicit carveout disallowing

offsets when a defendant is found to have knowingly violated the

securities laws. That carveout is wholly absent from the relevant

text,   and    its   absence     stands       out in    light      of   explicit    language

elsewhere in the same statute providing that knowing violators shall

be held jointly and severally liable where they might otherwise have

been    held   liable     only    in    the        amount     of   their    percentage     of

responsibility. Compare 15 U.S.C. § 78u-4(f)(2)(A)-(B) (limiting a

person’s liability to that person’s “percentage of responsibility”

except where the person is found to have knowingly violated the

securities     laws,    in   which     case    the     person      shall   be   jointly   and

severally liable), with id. § 78u-4(f)(7)(B) (stating that any time

there is a settlement prior to a final verdict or judgment, that final

judgment against non-settling defendants “shall be reduced” by the

greater of the settling defendant’s percentage of responsibility or

amount paid in settlement).

       Plaintiffs      nonetheless      contend        that     context     and    statutory

structure support their reading. Of course, context and structure

matter in all statutory interpretation cases, and courts should not

read individual provisions of complex statutes as isolated words

appearing on a blank page divorced from statutory context, see King

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v. Burwell, 576 U.S. 473, 488-98 (2015), or the legislative process,

see Robert A. Katzmann, Judging Statutes 3-22, 29-54 (2014). As the

Supreme Court has made clear, courts should consult context even when

dealing     with     apparently    clear       provisions,   because    seemingly

straightforward language may in fact prove ambiguous when read against

the statute as a whole. Burwell, 576 U.S. at 488-98. Here, however,

neither context nor structure suggests (let alone requires) inserting

a knowing-violator exception into the settlement offset provision.

     For one thing, contrary to plaintiffs’ contention that the PSLRA’s

settlement offset provision must be read to incorporate a knowing

violator carveout to avoid inconsistency with the PSLRA’s definition

of individual liability, the two provisions simply deal with different

issues.    The     settlement   offset     provision   focuses   on    the   actual

settlements reached with defendants other than those against whom a

final judgment is entered and creates an offset to any final judgment

to take into account those settlements. 15 U.S.C. § 78u-4(f)(7)(B).

The provision defining individual liability, by contrast, focuses on

the responsibility of the defendant against whom a judgment is entered,

and defines the extent of that defendant’s liability as limited to

that defendant’s “percentage of responsibility” if and only if that

defendant is not found to have knowingly violated the securities laws.

15 U.S.C. § 78u-4(f)(2)(A)-(B). Indeed, under plaintiffs’ view of the

statute -- whereby the settlement offset provision applies only when

a non-settling defendant is not found to have knowingly violated the

securities laws and is therefore not jointly and severally liable

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under 15 U.S.C. § 78u-4(f)(2)(A) -- it is not at all clear what the

settlement offset provision would accomplish, since the PSLRA limits

the liability of any defendant who did not knowingly violate the

securities       laws    to   that    defendant’s        individual   “percentage          of

responsibility,” irrespective of any judgment against or settlement

with any other defendant. Id. § 78u-4(f)(2)(B)(i).

       Moreover, statutory structure in this case -- and, in particular,

the PLSRA’s provisions governing contribution -- actually confirms why

applying the settlement offset provision is needed whether or not the

defendant against whom a judgment is entered knowingly violated the

securities laws. For while plaintiffs are correct that, had they never

settled with Gilbertson, Reger would have been jointly and severally

liable for the full verdict against him without any limitation to take

into account his individual percentage of responsibility, 3 Reger would 2F




have been legally entitled in that circumstance to seek contribution

from Gilbertson or any other defendant who might have been liable for

the same judgment but against whom plaintiffs had not collected. Id.

§   78u-4(f)(8).        However,     as   to       settling   defendants,         the   PSLRA

extinguishes Reger’s contribution rights, presumably because Congress

knew       it   would   greatly      disincentivize       settlements        if     settling



       This remains true notwithstanding the Gilbertson settlement:
       3

Reger is jointly and severally liable for the full judgment under 15
U.S.C. § 78u-4(f)(2)(A), potentially in excess of his individual
percentage of responsibility, but, under 15 U.S.C. § 78u-4(f)(2)(8),
the amount of that judgment must be reduced not because of anything
to do with Reger’s share of responsibility but rather to take into
account Gilbertson’s.

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defendants were not entitled to a “final discharge of all obligations

to the plaintiff of the settling covered person . . . [and] for

contribution” from other defendants. Id. § 78u-4(f)(7)(A).

     In other words, the very same paragraph that requires that any

settlement with one defendant be credited toward future judgments

against other defendants also extinguishes the right the non-settling

defendants would otherwise have to seek contribution. That right to

contribution matters most to jointly and severally liable defendants,

who might be forced to pay plaintiffs for losses equally or more

attributable to other defendants’ actions. Congress’s resulting two-

pronged    approach      --    allowing        the    extinguishment       of   a    settling

defendant’s potential liability for contribution and thereby enabling

that defendant to settle, but also requiring an offset toward future

judgments against non-settling defendants who might otherwise have

sought    contribution        --   is   common       to   the   law   of   settlements   and

apportionment. See Restatement (Third) of Torts: Apportionment of

Liability § 23 (Am. L. Inst. 2000) (stating that a jointly and

severally       liable   defendant        is       generally     “entitled      to   recover

contribution from” another defendant also liable “for the same harm .

. . unless the other previously had a valid settlement and release

from the plaintiff”); id. § 16 (stating that courts should credit

toward    any    judgment     against     a    non-settling       defendant     an   earlier

settling defendant’s share of responsibility).

     Indeed, as to the cash settlement with Dakota Plains’ officers

and directors, plaintiffs acknowledge that it would be unfair -- and

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would result in their double-recovery -- to afford Reger no offset.

Pls. Supp. Mem. re Damages and Apportionment, Dkt. 531, at 12. They

instead argue that it would be unfair to afford Reger any benefit for

their settlement with Gilbertson, since they obtained $0 from that

settlement. Id. But it is hard to see how to operationalize that

position -- that the judgment with Reger should be offset for the cash

settlement with the officers and directors, but not for Gilbertson’s

percentage of responsibility -- without simply ignoring Congress’s

directive that any judgment “be reduced by the greater of” the amount

of   a   cash    settlement    or   the     settling   defendant’s    share   of

responsibility. Id. § 78u-4(f)(7)(B).

     And despite plaintiff’s apparent contention that it would make

no sense to afford credit against their judgment against Reger not

just for their cash settlement with the officers and directors, but

also their cashless settlement with Gilbertson, offsetting judgments

based on a settling defendant’s share of responsibility (rather than

actual cash payment) is precisely the approach endorsed by the American

Law Institute’s current restatement on the apportionment of tort

liability.      See   Restatement   (Third)    of   Torts:   Apportionment    of

Liability § 16 (“The plaintiff's recoverable damages from a jointly

and severally liable tortfeasor are reduced by the comparative share

of damages attributable to a settling tortfeasor who otherwise would

have been liable for contribution to jointly and severally liable

defendants who do not settle.”)



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      As    explained       by    the   Restatement,       the     approach      preferred    by

plaintiffs -- credit for the cash value of prior settlements, but not

for the settling defendants’ percentage of responsibility (also known

as   the    “pro     tanto”      approach)     --    has    some     advantages       over    the

“comparative         share”      approach    taken    by    the    Restatement,        such   as

“encourage[ing] early partial settlements, because the plaintiff is

assured      that     all     damages    can   be    recovered        from      the   remaining

tortfeasors if the plaintiff prevails at trial.” Id. § 16 cmt. c. But

the pro tanto approach has the distinct “disadvantage of imposing any

inadequacy in a partial settlement between the plaintiff and a settling

tortfeasor      on    nonsettling       tortfeasors        against    whom      the   plaintiff

prevails at trial.” Id.

      Courts have routinely recognized the logic of crediting toward a

judgment      against       a     non-settling       defendant        the     percentage      of

responsibility of the settling defendant “[a]s a means of harmonizing

the equitable principles of contribution with the policy of promoting

settlement. . . .” In re PNC Fin. Svcs. Grp., Inc., 440 F. Supp. 2d

421, 441 (W.D. Penn. 2006). To enable partial settlements, courts must

be able to assure settling defendants that they will not face further

liability including for contribution; but to render the resulting

extinguishment         of     contribution     rights       fair     to   the    non-settling

defendant, courts have frequently required that such a defendant “pay

only its commensurate share of the damages, placing the risk of a

‘bad’ settlement squarely on the plaintiffs, who retain an incentive

to assure each defendant pays its fair share of damages.” Id. (also

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describing this “proportionate fault rule” as “the equivalent of a

contribution claim because it limited the non-settling defendant's

responsibility to its proportionate share of liability.”).

     This is not to say that Congress necessarily settled on the “best”

approach to handling partial settlements and future judgment offsets

in the PSLRA, a question as to which this Court expresses no view.

Indeed, commentary to the Restatement suggests that notwithstanding a

general preference for settlement offsets in proportion to the settling

defendant’s share of responsibility, rather than the cash value of the

settlement, in cases such as this one where the settling defendant is

partially insolvent, courts should credit toward the judgment against

any non-settling defendant “the amount of assets or liability that the

court found the partially insolvent or immune settling tortfeasor had

available to satisfy a judgment against it or the percentage of

comparative   responsibility    assigned    to   the   settling   tortfeasor,

whichever is less.” Restatement (Third) of Torts: Apportionment of

Liability § 16 cmt. g. This would avoid any disincentive the plaintiff

might otherwise face to settle claims against partially insolvent or

immune defendants. Id.

     Congress evidently chose a different combination of the “pro

tanto” and “comparative share” approaches, affording non-settling

defendants the greater of the cash value of earlier partial settlements

or the settling defendants’ share of responsibility. 15 U.S.C. § 78u-

4(f)(7)(B). That combination is particularly friendly to non-settling

defendants, perhaps a reflection of the concern expressed throughout

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the PSLRA that defendants to securities class actions faced inordinate

pressure to settle claims they might otherwise contest. See H.R. Conf.

Rep.   104-369,    at    37-38   (1995)    (discussing,       in   this   regard,    the

pressures that the threat of joint and several liability without

apportionment can place on defendants to settle claims they would

prefer    to   dispute).    Congress      may   also   have   determined      that   the

securities plaintiffs who negotiate a settlement, rather than a non-

settling defendant who was not a party to those negotiations, should

“bear[] all risk in brokering a partial settlement,” such that they

“retain[] the incentive to ascertain and prove each defendant's fair

share of damages.” PNC, 440 F. Supp. 2d at 442. Certain states have

enacted     similar      statutes   likewise      requiring        that   non-settling

defendants receive credit for the greater of an earlier settling

defendant’s cash payment and share of responsibility. See, e.g., N.Y.

G.O.L. § 15–108(a) (“When a release or a covenant not to sue . . . is

given to one of two or more persons liable or claimed to be liable in

tort for the same injury . . . it reduces the claim of the releasor

against the other tortfeasors to the extent of any amount stipulated

by the release or the covenant, or in the amount of the consideration

paid for it, or in the amount of the released tortfeasor's equitable

share of the damages under article fourteen of the civil practice law

and rules, whichever is the greatest.”) (emphasis added).

       While plaintiffs would prefer Congress to have taken an approach

less   friendly     to   non-settling      defendants,    the      approach   Congress

selected has its own virtues -- protecting non-settling defendants

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whose contribution rights are eliminated by earlier settlements they

had no role in negotiating -- and falls well within the mainstream of

common American judicial practice. Given that background, there is no

reason to disbelieve that Congress made the choice its plain language

so clearly indicates in the PSLRA’s settlement offset provision.

     2. Reger did not waive his statutory entitlement to a judgment
        offset.

     Plaintiffs    argue   in   the    alternative      that    Reger    waived   his

statutory entitlement to a judgment offset by failing to object to

provisions included in the proposed O&D and Gilbertson settlements

that purported to limit the rights of any non-settling defendant found

jointly and severally liable. As described below, both parties have

repeatedly expressed different and often confused positions on what

should have been a straightforward issue. That said, the argument that

Reger waived his statutory right to an offset is entirely unpersuasive.

     Some    background    is   needed.      After   five-and-a-half      years   of

litigation, including a postponed trial date due to the COVID-19

pandemic, this case was finally set to proceed to trial on June 6,

2022. Plaintiffs reached a $13.95 million settlement with the O&D

defendants on May 2, 2022, about one month before trial, and a

settlement with defendant Gilbertson shortly thereafter. See Dkt. 458;

Minute Order dated 5/17/22. Although plaintiffs settled for $0 with

Gilbertson   (as   Gilbertson,    as    the    result   of     earlier   government

enforcement proceedings in connection with the same fraud alleged in

this case, apparently had no significant assets left), Gilbertson


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agreed     to    “cooperate         with   Plaintiffs’        Counsel        in   the    further

prosecution of the Action, including providing testimony at trial.”

Stipulation          and     Agreement     of     Settlement     (Ryan       R.     Gilbertson)

(“Gilbertson Settlement”) at 13, Dkt. 461-7. See also Stipulation and

Agreement       of    Settlement      (Officer        and   Director    Defendants)         (“O&D

Settlement”) at 13, Dkt. 461-1. In view of the rapidly approaching

trial date, this Court set a preliminary fairness hearing on these

proposed class action settlements for May 31, 2022.

     Included          in    each    settlement        agreement       was    the       following

provision:

     The Final Judgment to be entered in this Action shall also
     provide, in accordance with the [PSLRA] as codified at 15 U.S.C.
     § 78u-4(f)(7)(A), that any and all claims for contribution arising
     out of any Settled Claims (i) by any person or entity against any
     of the Released Parties . . . are hereby permanently barred,
     extinguished, discharged, and unenforceable. . . In accordance
     with 15 U.S.C. § 78u-4(f)(7)(B), any final verdict or judgment
     that might be obtained by or on behalf of the Class or a Class
     Member against any person or entity based upon or arising out of
     any Settled Claim for which such person or entity and any Released
     Parties are found to be jointly liable shall be reduced by the
     greater of (i) an amount that corresponds to the percentage of
     the responsibility of any such Released Party for common damages,
     or (ii) the amount paid to the Class by or on behalf of each such
     Released Party for common damages, unless any such person is
     found to have knowingly violated the securities laws, in which
     case such judgment reduction provisions shall not apply. 15 U.S.C.
     § 78u-4(f)(2)(A).

D&O Settlement at 30-31 (emphasis added); Gilbertson Settlement at 18-

19(emphasis added).

     Up    until       the    italicized        “unless”    clause,     which     purports    to

eliminate any settlement offset to a final judgment against someone

found to have knowingly violated the securities laws, this provision


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merely summarizes the operation of the relevant PSLRA provisions:

namely, the extinguishment of any future contribution liability for

any party to the settlement and, relatedly, the creation of an offset

to a judgment against any non-settling defendant for prior partial

settlements   relating   to     shared    liability.     The     “unless”   clause,

however, would change the statute substantially by removing that offset

right in precisely those circumstances when it matters: when the non-

settling defendant is found to have knowingly violated the securities

laws and therefore becomes jointly and severally liable for losses at

least partially attributable to the earlier settling defendants.

     It is not clear whether, through this “unless” clause, plaintiffs

merely sought to describe the (erroneous) interpretation of the PSLRA

they now advance, or if they instead sought to eliminate a valuable

statutory   right   otherwise    afforded     by   the   PSLRA    to   non-settling

defendants. If the former, then, for the reasons described above in

Section I.A.1, supra, plaintiffs simply misdescribed in their proposed

settlements what the PSLRA actually says -- an unfortunate mistake,

no doubt, but not one that justifies rewriting the statute or that

binds this Court’s interpretation. If the latter, then plaintiffs

selected an extremely odd way to seek to eliminate Reger’s valuable

statutory right to a judgment offset by burying a single 16-word clause

19 and 31 pages deep into settlement agreements negotiated with other

defendants without any separate notification to either Reger or to

this Court.



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     In any event -- perhaps finally realizing that other courts had

previously disapproved similar provisions included in other partial

settlements as plainly inconsistent with the PSLRA’s text, Worldcom,

2005 WL 335201, at *14-15 -- plaintiffs' counsel sent all other parties

and the Court an email at 9:00 PM on 5/30/22, the night before the

preliminary fairness hearing and a mere week before the trial against

Reger was set to begin, indicating, without explanation, plaintiffs’

intent to “withdraw[] its motion for preliminary approval of the

proposed    settlement      with    Defendant   Ryan    R.   Gilbertson”    over

Gilbertson’s objection. See Rowe Decl. Ex. 1 at 6-7, Email from Solomon

B. Cera dated May 30, 2022, Dkt. 534-1.

     The next day -- at the preliminary fairness hearing -- the Court

questioned plaintiff’s counsel as to why they were seeking to withdraw

from the settlement they negotiated with Gilbertson a mere week before

the trial against non-settling defendants was set to begin. Plaintiffs’

counsel explained that it now believed that the “unless” clause “is

inconsistent with a provision of the PSLRA.” 5/31/22 Hr’g Tr. 5:10-

11, Dkt. 506. But while plaintiffs’ counsel confessed to “a mistake

of law that [he] took responsibility for” and identified the PSLRA’s

settlement offset provision codified at 15 U.S.C. 78u-4(7)(B) as the

provision   giving   rise    to    the   mistake,   plaintiffs’   counsel   never

explained the precise problem plaintiffs were seeking to avoid: a

situation in which, by settling with Gilbertson prior to the judgment

against Reger, they would face a significant offset to a future

judgment against Reger they might otherwise avoid by continuing to

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proceed against Gilbertson. Id. 4:9-7:9. Indeed, nothing said by

plaintiffs’ counsel or any other counsel at the preliminary fairness

hearing indicated that this provision bore on Reger’s rights at all.

Instead, the “unless” clause was discussed solely in terms of how it

affected the parties to the respective settlements: plaintiffs and

Gilbertson, and, to a lesser extent, plaintiffs and the O&D defendants.

     This Court, sensible both of the prejudice that might result to

Gilbertson should plaintiffs abandon a settlement they had already

agreed to and the likely necessity of yet more delay should the

settlement not go forward, asked if the settlement could go forward

while the Court reserved judgment on the validity of the “unless”

clause. Id. 7:17-23. Plaintiffs -- rather than state plainly that they

did not wish proceed with any settlement with Gilbertson, because the

effect such settlement might have on their ability to recover from

Reger -- instead indicated that they did wish to proceed with both

settlements, but that they believed the “unless” clause should be

struck from both. 4 Plaintiffs’ counsel then did not dispute the Court’s
                    3F




     4 In their briefing, plaintiffs contend that they only expressed
this preference for striking the “unless” clause with respect to the
O&D settlement. Pls. Reply at 4, Dkt. 535. But that misstates the
record to the point of disingenuousness. It is true that, in response
to a question that might have applied just to the O&D settlement,
plaintiffs represented that they “would be happy to go forward with
th[e] provision struck.” Id. 8:2-4. But plaintiff’s counsel was then
explicitly asked about whether, as to the Gilbertson settlement, they
would be happy to proceed with or without the “unless” clause, and
rather than say what now appears to be their position -- that they did
not want to go forward either way, because they wanted the protection
of the “unless” clause but believed it was contrary to law and would
therefore not be enforced -- plaintiffs' counsel merely stated: “Your
Honor, we think that the provision should be struck.” Id. 8:14-16. In
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summary that “[b]ecause we now have it on record that everyone would

go forward with the settlement whether [the unless clause is] in or

out,” the Court could preliminarily approve the settlements and make

a decision about the unless clause “at the final approval stage.” Id.

8:22-9:3.

       In their subsequent written submission filed June 7, 2022 -- two

days into the ongoing trial against Reger -- plaintiffs took a wholly

new position: that the “unless” clause should remain in the settlement,

was consistent with the PSLRA, and should apply fully to any judgment

against Reger. See Pls. Mem. regarding Gilbertson Settlement at 1,

Dkt. 475. This brief is the first time plaintiffs’ counsel articulated

the real issue -- the possibility that their settlement with Gilbertson

might reduce their recovery against Reger, and, conversely, that their

settlement    with   defendants     other    than    Reger    would,    as   drafted,

drastically limit Reger’s rights. But plaintiffs did not, in this

brief or any statement to the Court during the ongoing trial, indicate

that   it   was   necessary    to   decide    this    issue    before    Gilbertson

consummated his side of the settlement by testifying against Reger

just two days later, because, if it was decided against them, they

would no longer go forward with the Gilbertson settlement. In a brief

filed shortly after the conclusion of trial (by the date the Court had

set for responses from any party concerning whether the “unless” clause




other words, as to both settlements, plaintiffs plainly expressed an
intention to move forward if the “unless” clause was removed.

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should be struck), Reger argued that he should, notwithstanding the

“unless” clause, get a credit as to the judgment against him for the

$13.95 million O&D settlement, but bizarrely agreed with plaintiff’s

most recent theory that because he had been found jointly and severally

liable, he could not obtain any judgment offset for Gilbertson’s

percentage   of    responsibility.     Reger   Mem.   regarding     Gilbertson

Settlement, Dkt. 485. However, before final approval of either class

action settlement when it finally came time to submit his brief on

post-trial damages issues including apportionment that the parties had

stipulated should be resolved by the Court, Reger changed his position

and argued that the judgment against him should be reduced to account

for both the $13.95 O&D settlement and Gilbertson’s percentage of

responsibility. Def. Supp. Mem. regarding Gilbertson Settlement, Dkt.

530; Def. Mem. Regarding Damages and Apportionment, Dkt. 533.

     As this history makes clear, both parties have flip-flopped on

the relevant issue, and all the lawyers in this case would have done

better to read, and then read again, what is a fairly short statute

before submitting so many contrary statements. On the merits, however,

plaintiffs’ waiver argument is exceptionally weak.

     The   only   actual   statement   by   Reger   that   might   arguably   be

construed as waiving his offset rights came in his post-trial June 14

filing on the subject. See Dkt. 485. But the thrust of plaintiff’s

waiver argument and related claim of prejudice depends on Reger having

waived the issue even earlier -- before or at least during trial, in

fact -- because plaintiffs supposedly “relied on Reger’s pretrial

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waiver by proceeding with the settlement and calling Gilbertson to

testify at trial.” Pls. Mem. Regarding Damages and Apportionment at

1, Dkt. 531. As plaintiffs represented not just in their briefs but

also at oral argument, it was this supposed pretrial waiver that led

them to consummate a settlement with Gilbertson by calling him to

testify at trial where they might otherwise have declined to do so.

Plaintiffs make no claim of prejudice based on the statements in

Reger’s June 14 brief (statements he subsequently withdrew in timely-

filed briefs on damages and apportionment filed well before any final

approval of the class action settlements and before the Court decided

the validity of the “unless” clauses), nor is it remotely clear how

plaintiffs could have been prejudiced by the statements in Reger’s

June 14 brief. 5    4F




     As     such,        the   relevant   period    in   which   plaintiffs   have   to

demonstrate that Reger waived his offset rights and caused them

prejudice is the approximately two-week gap between their May 23, 2022

motion    for   preliminary        approval    of   class   action   settlements     and

Gilbertson’s June 9, 2022 testimony at trial -- at which point,

plaintiffs concede, Gilbertson had carried out his side of the proposed

settlement and it became too late for either side to back out. See



     5 Plaintiffs point out that four months passed between Reger’s
June 14 filing and his subsequent brief that took a different view,
but, as plaintiffs are well aware, the reason for the lengthy
interregnum was that briefing on damages and apportionment were stayed
from July 19 through September 14 as the Court considered and
ultimately rejected arguments Reger’s arguments for judgment
notwithstanding the verdict. See Order dated 7/19/22, Dkt. 517.

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Pls. Supp. Mem. re Gilbertson settlement at 11, Dkt. 531 (“Plaintiffs

called Gilbertson and he testified, fulfilling his end of the bargain.

That bell cannot be unrung.”).

     During that two-week period, Reger made absolutely no statement

whatsoever concerning plaintiffs’ proposed settlements or his future

rights to a judgment offset. As such, plaintiffs’ position has to be

that Reger implicitly waived his hugely valuable statutory right to

settlement offsets by failing to object during that two-week period

to the two sixteen-word “unless” clauses buried 19 and 31 pages deep

into settlements plaintiffs negotiated with other defendants that

somehow (according to plaintiffs) purported to limit Reger’s rights.

Plaintiffs cite no authority for this extraordinary proposition that

would allow parties to a settlement to drastically limit the rights

of non-parties without ever providing any real notice to those non-

parties.

     Indeed,   at   the   5/31/22   preliminary   fairness   hearing,     while

plaintiffs identified the relevant statutory provision that conflicted

with the “unless” clauses, they never once stated their real concern

-- that by going forward with the Gilbertson settlement, they might

entitle Reger to a judgment offset -- and instead represented that

they would prefer to proceed with the settlement with the offending

clauses struck. Any participant at that conference would have perceived

the dispute as pertaining solely to plaintiffs and Gilbertson (or, in

the case of the O&D settlement, plaintiffs and the O&D defendants),

not to Reger. Rather, the first time at which the stakes as to Reger

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arguably became clear was when plaintiffs filed a 6/7/22 brief flip-

flopping as to their position at the preliminary fairness hearing and

contending that the relevant clauses should stay in the Gilbertson

(but not, apparently, the O&D) settlement and be enforced against

Reger. That brief, of course, was filed a mere two days before

Gilbertson testified, when trial was ongoing and with responses not

due for another week. So plaintiffs’ contention has to be that Reger’s

failure to respond in two days and before any deadline to a brief

filed in the middle of trial that he had no reason to think concerned

him somehow effectuated waiver. That’s just not how waiver works. 6          5F




     For these reasons, there is no genuine argument that Reger waived

his statutory offset rights before plaintiffs fully consummated their

settlement    with   Gilbertson   by   calling   him   to   testify.   At   best,

plaintiffs’ argument sounds not in waiver but in potential prejudice

to the class: it may be the case that plaintiffs’ counsel, when they

first negotiated the Gilbertson settlement, did not realize the effect

it would have on their recovery against Reger. If that is true, then



     6 There is no suggestion that Reger was aware of how the provision
in both settlements threatened to drastically alter his rights under
the PSLRA and failed to speak up so as to induce plaintiffs to proceed
with a settlement that might result in a reduction in the judgment
against him. Instead, the only party at that time that was apparently
thinking about this aspect of the proposed settlements and how it
interacted with the PSLRA’s settlement offset provisions was
plaintiffs’ counsel, who drafted the Gilbertson settlement, then sought
to abandon it, then sought to proceed with it without the offending
clause, and finally sought enforcement of that clause. Whether this
is simple inconsistency or blatant hypocrisy, the Court need not
decide.


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plaintiffs’ counsel might in hindsight regret their choice to settle

with Gilbertson. That potential error is unfortunate but gives the

Court little concern, for three reasons.

     First, and most basically, a mistake by plaintiffs’ counsel cannot

justify depriving Reger of a valuable statutory right given him by the

PSLRA’s plain text. That plaintiffs may not have been fully aware of

that text when they negotiated their settlement with Gilbertson cannot

change that.

     Second,     it   does    not    actually    appear   to   be   the   case    that

plaintiffs’ counsel was unaware of the effect the settlement offset

provision might have on their recovery against Reger. As described by

Gilbertson -- in an account plaintiffs’ counsel never disputed -- the

“unless” clause purporting to eliminate Reger’s offset rights in the

event he was found to have knowingly violated the securities laws was

only added by plaintiffs’ counsel to the proposed settlement late in

negotiations, in a final or near-final draft delivered by plaintiffs’

counsel to Gilbertson without even alerting Gilbertson to the new

clause. Def. Gilbertson Mem. at 3-4, Dkt. 482. Gilbertson’s brief

further    explains    that   “the    judgment    reduction    provision    was   not

critical to the parties’ settlement” and that the provision was

inserted to by plaintiffs’ counsel in a last minute exchange of drafts

(apparently without any specific notice even to Gilbertson), and that

“class counsel never called attention to this provision or said the




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addition of this provision was critical to the parties’ settlement.” 7                6F




Id.         at       2-4.         As   explained        above,       without       this

“unless”         clause,    the   relevant   language   accurately    described     the

PSLRA’s settlement offset provision. In other words, at least as

recounted by Gilbertson, plaintiffs’ counsel proceeded almost to a

final settlement with Gilbertson appearing to be not just aware of the

PSLRA’s settlement offset provision, but accurately describing it in

the proposed settlements -- only adding the “unless” clause at the

very last minute. That plaintiffs may have briefly but wrongly believed

that       the    PSLRA’s    settlement      offset   provision   either   could    be

interpreted or modified in a way more favorable to them does not

constitute real prejudice.

       Finally, despite plaintiffs’ contention in their reply brief that

they might not have gone forward with the settlement without the clause

in place -- a representation that is totally contrary to their position

at the 5/31/22 fairness hearing that they believed the clause should

be struck, their tacit agreement to go forward with the settlement

while this Court reserved judgment on the issue, and ultimately their

decision to fully consummate the settlement by calling Gilbertson

without raising legal concerns they clearly had with this approach --

plaintiffs derived real benefit from reaching the settlement with




       Of course, it is no surprise that this provision was not a
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subject of significant (or any) negotiation between plaintiffs and
Gilbertson, because the rights affected by it belonged to neither
plaintiffs nor Gilbertson but to Reger.

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Gilbertson when they did, prior to trial against Reger. They went into

that trial with the full benefit of Gilbertson’s cooperation, including

a sworn affidavit describing Reger’s actions, and then were able to

call Gilbertson as a material, indeed critical witness, confident as

to what he would say. Further, they were able to avoid a joint trial

against both Reger and Gilbertson, where a key part of Reger’s trial

strategy would likely have been to shift blame onto Gilbertson. So

while   the    Gilbertson    settlement      may   lead   to   some   reduction   in

plaintiffs’ judgment against Reger, the Gilbertson settlement is also

a very key part of what led to that judgment.

     For these reasons, the Court easily concludes that Reger may

claim the full benefit of the settlement offset provision: an offset

for both the $13.95 million O&D settlement and for Gilbertson’s share

of responsibility. And although the Court will, as described below,

grant final approval to both the O&D and Gilbertson settlements, the

Court   does    so   only   after   striking   the   “unless”    clause   from    the

settlements.

              B. Apportionment of responsibility under the PSLRA

                1. Whether, independent of the settlements, apportionment
                   is required as to Counts I or II.

     Plaintiffs and Reger disagree as to whether, totally independent

of the Gilbertson and O&D settlements, apportionment would also be

required under the PSLRA as to at least Count II, as to which the jury

found Reger liable as a Dakota Plains control person but as to which

the jury found Dakota Plains acted recklessly. Verdict at 2, Dkt. 483.


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Reger contends that this finding demonstrates that the jury did not

find, as to Count II, that he “knowingly committed a violation of the

securities    laws”   as   required    for   joint   and   several   liability.

Plaintiffs contend -- somewhat implausibly, in the Court’s view --

that Reger is still jointly and severally liable under Count II because

the jury elsewhere found that Reger acted knowingly, even if the

company under his control acted only recklessly.

     This entire dispute is moot. Leaving aside the fact that Reger

was found jointly and severally liable for the same damages amount

under Count I (meaning that apportionment under Count II would only

matter in the event that the jury’s finding as to Count I was overturned

on appeal while its finding on Count II was allowed to stand), the

Court has already found that the PSLRA’s settlement offset provision

applies fully to the judgment against Reger. 8 As such, the judgment
                                                     7F




     8 Reger also argues that this Court retains discretion to limit
his liability as to Count I to his own share of responsibility, even
though the jury found that he knowingly violated the securities laws,
because the PSLRA’s language that a defendant “shall be liable for
damages jointly and severally only if the trier of fact specifically
determines that such covered person knowingly committed a violation
of the securities laws” supposedly describes a necessary but
insufficient condition for joint and several liability. Reger cites
no case interpreting the PSLRA this way, and his argument seems
contrary both to the specific statutory language in question -- which
states that a person found to have knowingly violated the securities
laws “shall” be jointly and severally liable -- and the context for
that language, which sets out two mutually exclusive requirements:
joint and several liability for those who knowingly violate the
securities laws and apportionment for everyone else. 15 U.S.C. § 78u-
4(f)(2)(A)-(B). In any event, as explained above, this argument is
also moot in light of the Gilbertson and O&D settlements.

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against him will be reduced for both Gilbertson’s percentage of

responsibility and the $13.95 million O&D settlement. 9       8F




     Aside from Gilbertson and Dakota Plains’ officers and directors,

the only other person Reger points to as to whom this Court might

conceivably apportion liability that might reduce Reger’s share of

responsibility is James Sankovitz, who acted for a time as Dakota

Plains’ general counsel. In order to attribute responsibility to

Sankovitz, the factfinder (here, by stipulation of the parties, this

Court) would need to make findings about whether Sankovitz “violated

the securities laws,” and whether he did so knowingly. 15 U.S.C. §

78u-4(f)(3)(A). As to that question, Reger offers only the thinnest

of threads, pointing to a single trial exhibit (and no accompanying

testimony) indicating that Sankovitz, as of September 5, 2012, was




     9 As described above, the settlement offset provision provides
for a reduction in judgment for the greater of a settling defendant’s
percentage of responsibility and the cash amount of the settlement.
15 U.S.C. § 78u-4(f)(7)(B). As to Gilbertson, who settled for $0, this
plainly requires an offset for his percentage of responsibility. As
to Dakota Plains’ officers and directors, although Reger contends they
share “meaningful culpability” for plaintiffs’ losses, he never once
argued that that culpability exceeds the amount of their $13.95 million
settlement. Reger Supp. Mem. re Damages and apportionment at 20, Dkt.
533. And other briefs filed by Reger assume that the $13.95 million
settlement defines the extent of any offset for the O&D settlement.
See Def. Mem. Regarding Gilbertson Settlement, Dkt. 485. As Reger has
never argued that Dakota Plains’ Officers and Directors bear
responsibility in excess of their $13.95 million settlement -- and
this Court, after considering the factors the PSLRA makes relevant to
the determination of responsibility, see 15 U.S.C. § 78u-4(f)(3),
would not find in any case that the officers and directors bear any
responsibility greater than their settlement -- there is no need to
explicitly lay out findings as to the officers and directors’
percentage of responsibility.

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connected to accounts holding over 5% of Dakota Plains’ shares even

though     Sankovitz       never      disclosed      that   he   was    a    greater    than   5%

beneficial owner. But as plaintiffs point out, disclosure requirements

are only triggered when a person can control the voting power or

disposition of over 5% of shares, 17 C.F.R. § 240.13d-3(a), and Reger

offers absolutely no evidence as to whether this was true of Sankovitz.

      Reger also argues that he relied on Sankovitz’ advice in his own

wrongdoing.         But   absent      clearer     evidence       that       Sankovitz   himself

violated the securities laws, the Court sees no basis upon which to

assign him responsibility for plaintiffs’ loss. 15 U.S.C. § 78u-

4(f)(3)(A). As such, the only person whose percentage of responsibility

this Court must calculate is Ryan Gilbertson.

                 2. Gilbertson’s share of responsibility

      In deciding just how responsible a person, including a settling

defendant, is for plaintiffs’ loss, the PSLRA directs the fact-finder

to determine:

      (i)        whether such person violated the securities laws;
      (ii)       the percentage of responsibility of such person, measured
                 as a percentage of the total fault of all persons who
                 caused or contributed to the loss incurred by the
                 plaintiff; and
      (iii)      whether such person knowingly committed a violation of
                 the securities laws.

15   U.S.C.     §    78u-4(f)(3)(A).        “In       determining       the     percentage     of

responsibility . . . the trier of fact shall consider -- (i) the nature

of   the    conduct       of   each    covered    person     found      to    have   caused    or

contributed to the loss incurred by the plaintiff or plaintiffs; and

(ii) the nature and extent of the causal relationship between the
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conduct of each such person and the damages incurred by the plaintiff

or plaintiffs.” Id. § 78u-4(f)(3)(C).

     Here, a criminal jury convicted Gilbertson of knowingly violating

the securities laws in connection with his involvement with Dakota

Plains. See United States v. Gilbertson, 970 F.3d 938 (2d Cir. 2020)

(affirming Gilbertson’s conviction and the restitution order against

him). The question for this Court is Gilbertson’s “percentage of

responsibility . . . measured as a percentage of the total fault of

all persons who caused or contributed to the loss incurred by the

plaintiff.”

     Plaintiffs   argue    that   Gilbertson    should   be   assigned    little

responsibility because the specific fraud alleged and proved at trial

-- Reger’s concealment of his beneficial ownership of over 5% of Dakota

Plains’ shares -- owed to Reger’s choices, not Gilbertson’s concealment

of his own beneficial ownership, Gilbertson’s acknowledged trading

manipulation   scheme,    or   Gilbertson’s    other   numerous   instances   of

unlawful conduct. Pls. Reply Mem. at 12, Dkt. 535. As an initial

matter, plaintiffs are simply wrong that Gilbertson played little or

no role in Reger’s concealment of his beneficial ownership of Dakota

Plains. Gilbertson testified at trial about “conversations” he had

with Reger about concealing both of their ownership stakes so that

investors would not associate Dakota Plains with their prior shared

ventures. 6/9/22 Tr. 798:21-799:17 (Gilbertson). He further testified

that “both” men were “in agreement that it was for the best that our

names not be associated with the company in any public filings,” and

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that both men “discussed ideas by which we could move shares but still

essentially    control”   those       shares.   Id.      800:19-801:4.    When   asked

whether the “idea” to conceal their ownership came from Gilbertson,

Reger, or both, Gilbertson answered “it was probably along the lines

of a mutual idea” and that “[i]t may have been more my idea initially.”

Id.   801:11-19    (emphasis    added).    So   Gilbertson      plainly    played   an

important -- and perhaps causal -- part in Reger’s decision to conceal

his ownership stake. See 15 U.S.C. § 78u-4(f)(3)(C) (directing the

trier   of    fact    “[i]n     determining     [a       person’s]   percentage     of

responsibility” to consider “the nature and extent of the causal

relationship between the conduct of each such person and the damages

incurred by the plaintiff or plaintiffs”).

      But there is a deeper flaw in plaintiffs’ argument. The PSLRA

requires     the   factfinder    to   determine      a   person’s    “percentage    of

responsibility . . . measured as a percentage of the total fault of

all persons who caused or contributed to the loss incurred by the

plaintiff. . . .” Id. § 78u-4(f)(3)(A)(ii) (emphasis added). In other

words, the emphasis is not on other persons’ responsibility for the

precise fraudulent conduct proved against a particular defendant at

trial -– almost by definition, the defendant found liable at trial

will ordinarily be primarily responsible for his or his own conduct.

Rather, the relevant question is how responsible different persons

were for the loss suffered by plaintiffs. And as to that question --

even when the Court limits its consideration as plaintiffs contend it



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must to the trial record -- Gilbertson plainly played a significant

role in causing the same losses for which a jury found Reger liable.

     Plaintiffs’ loss causation theory depended on convincing the jury

that a series of risks that ultimately materialized were concealed

from investors because Reger concealed his substantial ownership in

Dakota Plains, including the risk that Reger, acting in concert with

Gilbertson, would employ his undisclosed substantial ownership and

resulting control to use the company for self-dealing and to install

unqualified   or   incompetent     cronies    in   management.     Gruber   v.

Gilbertson, No. 16-cv-9727, 2022 WL 4232834, at *6 (S.D.N.Y. Sept. 14,

2022). Indeed, there was more evidence of Gilbertson’s involvement

than Reger’s in a stock price manipulation scheme that led to massive

liabilities on notes owed to Gilbertson, Reger, and their associates.

Id. at *6 & n.5. A significant amount of Dakota Plains’ stock price

decline over the class period occurred immediately following the

conclusion of Gilbertson’s stock price manipulation scheme in the

early days of the stock’s trading. Id. at *2.

     There was evidence before the jury that would have allowed it to

conclude that Reger played some part in Gilbertson’s wrongdoing, and

that both Gilbertson’s actions and any later fallout were causally

connected to Reger’s concealment of his ownership, which enabled the

company to evade investor scrutiny it might otherwise have attracted.

Id. at *6 & n.5. But while that evidence supports the jury’s liability

finding as to Reger, it does not diminish Gilbertson’s share of

responsibility. That is why plaintiffs, in resisting Reger’s argument

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for judgment notwithstanding the verdict based on their purported

failure to demonstrate loss causation, explicitly argued “the jury

could readily conclude that Reger and Gilbertson embarked on a joint

scheme to defraud investors by concealing their role in Dakota Plains

and that class members’ losses resulted from that overall fraud

regardless of the two founders’ specific roles.” Pls. Mem. Opp. Mot.

For Judgment as a Matter of Law at 12, Dkt. 513.

      While    plaintiffs      are   therefore    wrong    in    now    arguing     that

Gilbertson bears minimal responsibility for their loss, defendant

Reger also goes too far in arguing that this Court should assign

Gilbertson “overwhelming” responsibility. As explained in greater

detail in this Court’s opinion denying Reger’s motion for judgment

notwithstanding the trial, there was ample evidence both of Reger’s

personal involvement in Gilbertson’s misconduct and of the role that

Reger’s concealment of his ownership played in investors’ losses.

Gilbertson, 2022 WL 4232834, at *6. The jury found that Reger knowingly

violated the securities laws by concealing his ownership, that this

was a material omission, and that the omission caused plaintiffs’

losses. Id.; see also Jury Instructions at 16-21, Dkt. 478. So Reger’s

personal      role    was     substantial.      Meanwhile,      as     Reger    himself

acknowledges,        Dakota   Plains’     officers   and     directors       also   bear

“meaningful culpability” for plaintiffs’ losses. Reger Mem. Regarding

Damages at 20, Dkt. 533.

      There is thus clear evidence that Gilberston knowingly violated

the   securities      laws,   including    by   concealing      his    own   beneficial

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ownership, manipulating Dakota Plains’ stock price in a way that led

to rapid price declines after an initial run-up, and designing debt

obligations favoring himself and Reger, the payout from which was tied

to Gilbertson’s stock price manipulation and the fallout from which

was a significant factor in plaintiffs’ losses. At the same time,

there is also evidence that Reger knowingly violated the securities

laws in ways that directly led to these same losses, as well as

evidence (including from the substantial D&O settlement) that Dakota

Plains’ officers and directors shared significant responsibility for

plaintiffs’ losses. Balancing and evaluating all of this, the Court

concludes     that   Gilbertson’s             personal   share      of   responsibility   for

plaintiffs’ loss is 50%. As described in section I.A, supra, the

judgment against Reger must therefore be offset by “an amount that

corresponds to” Gilbertson’s 50% share of responsibility. 15 U.S.C. §

78u-4(f)(7)(B)(i). 10     9F




             C. How the Claims Administrator should calculate class
                members’ damages.

     Plaintiffs       and        Reger   largely      agree    on    how   the   (previously

appointed)     Claims          Administrator      should      calculate     class   members’

damages:     viz,    as        the   dollar    difference     between      the   inflationary

component in Dakota Plains stock at the time of purchase and the

inflationary component in Dakota Plains stock at the time of sale



     10The Claims Administrator will determine the precise dollar
amount corresponding to Gilbertson’s 50% share after determining the
dollar amount of the judgment against Reger in accordance with Part
I.C of this Opinion and Order.

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(which, at all times during the class period, was 57%, per the jury’s

finding). See Pls. Mem. re Damages at 6, Dkt. 531; Def. Mem. re Damages

at 30-31, Dkt. 533. The parties likewise agree (as does the Court)

that    class-members’    inflation-related     losses   and    gains   must   be

aggregated across all class period transactions (as opposed to simple

buy-sell pairs), such that a class member will only be awarded damages

if she suffered net inflation-related losses over the course of all

her class period transactions. See Def. Mem. re Damages at 30-31, Dkt.

531; Pls. Reply. re Damages at 20, Dkt. 535. However, the parties

disagree on two issues regarding the calculation of damages: how to

match class members’ share purchases to sales, and whether and how the

PSLRA’s “bounce back” provision applies.

       1. Whether to match transactions on a FIFO or LIFO basis.

       The parties disagree as to whether the claims administrator should

match class members’ purchases and sales on a first-in-first-out

(“FIFO”)    or    last-in-last-out     (“LIFO”)     basis,     with   plaintiffs

preferring FIFO and Reger arguing for LIFO. This issue arises when a

class member makes multiple purchases and sales over the Class Period:

for instance, if a class member buys one share on day 1 and another

share on day 2 and proceeds to sell one share on day 3 and another

sale on day 4, and the stock prices and dollar amount of inflation in

the stock was different on each of those days, her damages may vary

depending on whether the share sold on day 3 is deemed to have been

the one purchased on day 1 (FIFO) or the one purchased on day 2 (LIFO).



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     As both parties agree, the securities laws are silent on this

point and this Court has discretion to select either method. See In

re eSpeed, Inc. Secs. Litig., 232 F.R.D. 95, 100-01 (S.D.N.Y. 2005).

Several courts in this district have expressed a preference for LIFO

because “unlike FIFO, it takes into account gains that might have

accrued to plaintiffs during the class period due to the inflation of

the stock price.” Id. at 101. The reason for this assumption is that

because LIFO matches transactions made closer in time, it stands a

greater chance of matching class period purchases to class period

sales (which might lead to inflation at sale offsetting or even

exceeding inflation at purchase), whereas, under a FIFO methodology,

class   period   sales   through    which   a   class   member   benefits    from

fraudulent inflation might be matched to pre-class period purchases

and therefore drop out of the damages calculation entirely. Id; see

City of Monroe Emps. Ret. Sys. V. Hartford Fin. Svcs. Grp., Inc., 269

F.R.D. 291, 295 (S.D.N.Y. 2010).

     However, the concern that a FIFO methodology will yield class-

members a potential windfall is not implicated in this case. As just

explained,   the   Court   agrees    with   both   parties   that   the    claims

administrator should aggregate inflation-related gains and losses

across class members’ transactions -- a fact that Reger agrees is “far

more important” than selection of a FIFO versus LIFO methodology,

which Reger concedes may “have little to no effect on total damages.”

Def. Mem. re Damages at 30, Dkt. 30. See also Jaffe Pension Plan v.

Household Int’l, Inc., 756 F. Supp. 2d 928, 937 (N.D. Ill. 2010)

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(reasoning that if “plaintiffs' gains attributable to defendants'

fraud are netted from the plaintiffs' total loss, then such gains are

taken into consideration and utilizing FIFO as a method of matching

does not produce a windfall to the plaintiffs”). Of course, in some

cases, providing for such “netting” within the class period might not

be much help if the use of FIFO meant that class period sales --

through which class members benefit from fraudulent inflation -- were

matched to pre-class period purchases and then not counted in any

netting analysis. Here, however, the class period begins with Dakota

Plains’ stock first trading publicly, so all class period sales will

necessarily be matched to class period purchases.

     Since the concerns that often lead courts to select a LIFO

approach in securities class actions are not here implicated, the

Court believes it appropriate to select a FIFO approach for two

reasons. First, the FIFO approach more accurately matches generally

accepted accounting practices, as well as the Government’s approach

to capital gains taxation, so there is a reasonable argument that it

should be viewed as the default option when, as here, the particular

concerns that a FIFO approach might raise in a securities class action

are not present. Jaffe, 756 F. Supp. 2d at 937. Second, the D&O

settlement previously preliminarily approved by this Court provided

for FIFO matching, and applying a different methodology to the judgment

against     Reger   would   likely    lead   to   an   unnecessary    degree   of

administrative complexity. Notice of Proposed Partial Settlements ¶

51, Dkt. 461-3. Of course, Reger was not a party to the D&O settlement,

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and if there were genuine concerns that the FIFO methodology might

yield class members a windfall at Reger’s expense, the approach

selected in the D&O settlement would count for little in this Court’s

analysis. But since the ordinary rationale against a FIFO approach

does not apply and since Reger himself concedes that the selection of

FIFO versus LIFO matters far less than a requirement that class

members’ losses and gains be aggregated across all transactions,

administrative convenience counsels in favor of applying a consistent

FIFO approach to both the D&O settlement and the judgment against

Reger.

     2. Whether and how the PSLRA’s bounce back provision applies.

     Reger finally argues that plaintiffs have failed to account as

part of their damages methodology for a provision of the PSLRA that

limits a plaintiff’s damages in the event a security price rebounds

following a corrective disclosure. Specifically, the PSLRA provides

that “the award of damages to the plaintiff shall not exceed the

difference between the purchase or sale price paid or received . . .

and the mean trading price of that security during the 90-day period

beginning     on   the    date   on    which      the    information          correcting     the

misstatement       or    omission     that   is    the    basis   for         the   action    is

disseminated to the market.” 15 U.S.C. § 78u-4(e)(1). 11 Congress wrote 10F




     11 If a plaintiff sells her stake before the expiration of the
90-day period, the limitation is based on the mean trading price
between the corrective disclosure and the date of sale. Id. § 78u-
4(e)(2).

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this “bounce back” provision out of a concern that basing damages on

a security’s price on the date of a corrective disclosure might

“overestimate plaintiff’s actual damages,” if the market’s initial

reaction was overblown and the security subsequently recovers value;

as such, Congress limited a plaintiff’s damages to the difference

between their purchase price and the 90-day average trading price

following the relevant corrective disclosure. Action AG v. China N.E.

Petroleum Holdings Ltd., 692 F.3d 34, 38-39 (2d Cir. 2012). This

provision may have a substantial effect on damages when a stock quickly

rebounds from its nadir, but will have no effect if the stock does not

rebound.

      Reger seizes on this provision to relitigate arguments made in

his   motion    for   judgment   notwithstanding      the     verdict,   essentially

arguing     that   because   this    provision   of     the    PSLRA     contemplates

“corrective     disclosure[s]”      and   plaintiffs’    loss       causation   theory

turned on the market becoming aware of risks concealed by Reger’s

fraud gradually, rather than all at once on one or more specific

trading dates, plaintiffs’ damages theory is untenable. Reger Damages

and Apportionment Mem. at 31-32, Dkt. 533. As this Court already

explained in denying Reger’s previous motion, while Reger is right

that plaintiffs must prove some mechanism by which the market became

aware of risks concealed by the fraud, leading to a decline in Dakota

Plains’      stock    price,     plaintiff’s     theory        of     gradual     risk

materialization is well-grounded in precedent from this and other

circuits and not inconsistent with a showing of loss causation so long

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as plaintiffs make various evidentiary showings that were in fact

adequately made in this case. Gruber v. Gilbertson, 2022 WL 4232834,

at *8-12 (S.D.N.Y. Sept. 14, 2022). The PSLRA’s bounce back provision

(which Reger never mentioned in his prior briefing) does not change

that analysis.

     The real question the PSLRA’s bounce back provision raises --

which is not unique to this case but arises routinely in any securities

class action in which the truth was partially revealed at various

points throughout the class period, rather than in one fell swoop at

the end -- is whether the requisite “look back” period should be

calculated after every single corrective disclosure, including at

various intermediate points throughout a class period, or if instead

should be calculated only with respect to the 90 days following the

final corrective disclosure -- i.e., after the end of the class period

-- when no fraudulent inflation remains in a stock price.

     Because securities class actions so often settle, there is little

case law applying the bounce back provision. However, several cases

appear to contemplate that the relevant lookback period is the 90 days

following the end of the class period, not the 90 days following every

corrective disclosure. See Aticon, 692 F.3d at 39 (noting that the

PSLRA’s bounce back provision was written against the backdrop of a

previous approach applied by courts that looked to whether a stock

price ever rebounded, if only for a day, at any “point after the final

alleged     corrective    disclosure”    (emphasis    added);   In   re      Vivendi

Universal, S.A. Secs. Litig., 123 F. Supp. 3d 424, 439 (S.D.N.Y. 2015)

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(describing a proposed damages methodology as applying the PSLRA’s

bounce back provision to the 90 days “following the final corrective

disclosure . . . as required by the governing statute, 15 U.S.C. §

78u–4(e)(1)”   (emphasis     added));    Jaffe,     756    F.   Supp.    2d    at   936

(beginning the lookback period on “the date the jury found defendants'

fraud no longer affected Household's stock”).

      Moreover, while the statutory language is arguably ambiguous as

to whether it requires a separate look-back period following each

corrective disclosure or a single look-back period at the end of the

class period when all fraudulent inflation has come out of the relevant

stock, a single look-back period seems more consistent with the

statutory text. Congress required that the look-back period commence

“on the date on which the information correcting the misstatement or

omission that is the basis for the action is disseminated to the

market,”   appearing   to    contemplate      a   single   date    and   a    complete

correction of the misstatement or omission underlying the action. 15

U.S.C. § 78u-4(e)(1). Intermediate corrective disclosures throughout

the   class   period   may   partially       correct   prior      misstatements      or

omissions, but they do not fully “correct[] the misstatement or

omission that is the basis for the action,” because then the class

period would end on the date of those partial disclosures, as no

inflation owing to the fraudulent misstatement or omission would remain

in the stock. Id.

      For these reasons, the Court concludes plaintiffs are right that

the relevant date for purpose of the PSLRA’s look back period is the

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end of the class period, when all the risks concealed by Reger’s fraud

had been fully exposed and no fraudulent inflation was left in the

stock. At that point, Dakota Plains’ stock price was down to $0.03,

and it never rebounded over the next 90 days. As such, the PSLRA’s

bounce back provision has no relevance here for the simple reason that

Dakota Plains’ stock never bounced back. 12       11F




               D. Whether to award prejudgment interest

       Plaintiffs finally ask this Court to award prejudgment interest

-- and to do so at exceptionally high rates. Both parties agree that

this    Court     enjoys   “broad   discretion    to    decide   whether   to   award

prejudgment interest” in cases like this. Frommert v. Conkright, 913

F.3d 101, 109 (2d Cir. 2019). In exercising that discretion, the Court

considers “(i) the need to fully compensate the wronged party for

actual damages suffered, (ii) fairness and the relative equities of



        Moreover, even if the Court is wrong to conclude that the
       12

PSLRA’s lookback provision is triggered only when all the inflation
has dissipated from the stock and instead should run after each
corrective disclosure, it likely would not matter to any material
extent in this case. Here, where plaintiffs have proved a gradual
materialization of the risk over the entire class period, a claims
administrator could theoretically apply a separate 90-day bounceback
beginning on every day of the class period. Given the downward
trajectory of Dakota Plains’ stock price throughout the class period,
even doing this would likely not result in many 90-day trading periods
where Dakota Plains’ average trading price ended up being greater than
its trading price immediately before that 90-day period. Moreover,
even if there were a few such periods throughout the class period, the
lookback provisions would not have any bite except for those class
members who happened to buy immediately before such a period. So the
practical impact of reading the statute to require separate look back
periods would likely be minimal.



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the award, (iii) the remedial purpose of the statute involved, and/or

(iv) such other general principles as are deemed relevant by the

court.” Id. After considering these factors, the Court concludes that

prejudgment interest is not appropriate here.

      The risk free rate of return over the relevant time period -- as

measured by the interest rate on U.S. treasury bills -- was close to

0%,   which   is    why     plaintiffs   themselves     argue    that    “[a]warding

prejudgment interest at th[e treasury] rate is tantamount to awarding

no interest at all.” Pls. Reply Mem. at 2, 17, Dkt. 535. Plaintiffs

nonetheless argue that “[i]nvestors who purchase microcap stocks like

Dakota Plains simply are not the sorts of investors who would otherwise

be investing in short-term U.S. government treasury securities,” id.

at 17, and plaintiffs might well be right that investors in microcap

stock indexes over the last 10 years might have done quite well for

themselves.

      However,     Dakota    Plains   investors   did   not     invest   in   broadly

diversified microcap indexes; they invested in an individual microcap

stock that might have yielded them a very high return, but which might

equally have gone totally bust for reasons having nothing to do with

fraud. Indeed, there was significant evidence at trial that the

specific market opportunity that Dakota Plains told investors it was

seeking to take advantage of -- a potential arbitrage relating to the

spread in the price of shipping of oil from North Dakota by rail versus

shipping of oil from other parts of the country -- ended up dissipating

entirely as too many companies rushed to take advantage of it. 6/10/22

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Tr. 963:11-67:9 (Milev). To be sure, as explained in the Court’s prior

opinion denying Reger’s motion for a new trial, plaintiff presented

sufficient evidence that these industry-related developments were not

what caused Dakota Plains’ investors’ losses, and the jury found as a

factual matter that plaintiffs were at least partially right about

this. Gruber, 2022 WL 4232834 at *10-12. But Reger’s essentially

undisputed evidence of “intense competition” surrounding the same

business opportunity Dakota Plains told investors it would capitalize

on strongly suggests that while plaintiffs might have made money

investing in another similarly situated company, they might also have

lost all of it. 6/10/22 Tr. 1009:9-12 (Milev); id. 1009:15-19 (Q: “Did

all companies [seeking to take advantage of the relevant oil price

spread] go out of business, or just some of them?” A: “Again, it’s an

industry. And so some firms would go bankrupt, others would be able

to capture that spread, at least temporarily.”). Given the non-fraud

related risks class members ran investing in a company like Dakota

Plains, the Court cannot conclude that prejudgment interest -- let

alone interest above the near-zero risk free treasury rates prevailing

over the relevant time period -- is necessary to compensate class

members for their losses.

     Moreover, the Court concludes that neither “fairness and the

relative equities” or the remedial purpose of the securities laws

support an award of prejudgment interest in this case. Here, much of

the relevant fraudulent conduct was committed by Gilbertson, not Reger,

and Reger has already disgorged any Dakota Plains-related profits to

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the Securities and Exchange Commission in a separate proceeding. Given

those facts, prejudgment interest is not necessary to disincentivize

similar conduct, or to ensure that Reger does not reap a windfall by

being allowed to profit at investors’ expense from an essentially

zero-interest     loan.     Accordingly,    the   Court    declines       to   award

prejudgment interest.

            E. Whether to permit post-trial discovery

       Reger finally contends that “substantial work remains” because

“[p]laintiff must provide actual proposals as to its method for

calculating damages as well as transparency as to how it is applying

that   method    to   individual   claimants,     and    Reger    must    have    the

opportunity to object on both fronts.” Reger Damages and Apportionment

Mem. at 33, Dkt. 533. However, as plaintiffs point out, the entire

point of this round of briefing was to decide on the method for

calculating damages. Plaintiffs have made a number of proposals and

Reger has made various objections to those proposals that this Court

has by now addressed at length. As such, it is not at all clear which

issues   Reger   believes    remain   outstanding,      other    than    one   narrow

question this Court will now address: whether Reger should be entitled

to take further discovery to challenge whether individual investors

really relied on Reger’s failure to disclose his ownership.

       Reger contends that some subset of Dakota Plains investors who

may be represented in the plaintiff class were aware, at least to some

extent, of “his involvement as a founder and/or shareholder of Dakota

Plains,” and that he should therefore be allowed some unspecified

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amount or type of individualized discovery as to some unspecified

number of class members that would allow him to somehow disprove their

individual reliance. Reger Damages Mem. at 34, Dkt. 533.

      The Court disagrees. In opposing class certification and later

in moving to decertify a class, Reger argued that evidence showed that

some investors were aware that he played a role in founding Dakota

Plains. Both times, the late Judge Pauley (to whom this case was

originally assigned) rejected the argument that this rendered the

issue of reliance insusceptible of common proof, noting that even if

Reger could conceivably show that a “handful” of investors knew more

than others about Reger’s involvement or even founding of Dakota

Plains, that “is distinct from investors’ knowledge that . . . Reger

beneficially owned more than” 20% of Dakota Plains’ common stock -- a

proposition as to which Reger had introduced no evidence. Gruber v.

Gilbertson, 2021 WL 2482109, at *16 (S.D.N.Y. June 17, 2021) (Pauley,

J.)   (denying      Reger’s   motion   to    decertify      the   class);    Gruber   v.

Gilbertson, 2019 WL 4439415, at *7-8 (S.D.N.Y. September 17, 2019)

(Pauley,      J.)   (discussing   reliance       in   the   context   of    a   decision

certifying a class). Despite extensive and repeated opportunities

throughout this six-year litigation to conduct ample discovery, 13 Reger        12F




       Fact discovery was originally supposed to conclude by
      13

12/31/2018, almost 9 months after the initial case management plan
was signed by Judge Pauley on April 4, 2018. See Dkt. 123.
Notwithstanding that already generous schedule, the fact discovery
period was extended no less than six times, before it finally
concluded on 1/31/20. See Dkt. 146, 149, 178, 251, 260, 279.

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has not identified any class member who knew the fact plaintiffs

contend Reger concealed from investors: that he owned over 20% of

Dakota Plains stock and failed to disclose that notwithstanding a

legal requirement that he do so. Gruber, 2021 WL 2482109, at *15.

Having failed to produce such evidence to date, Reger cannot now, six

years into this action and long past not just the close of discovery

but trial itself, demand additional individualized discovery of absent

class members in order to better substantiate arguments rejected at

the class certification stage in order to disprove elements already

proved against him on a classwide basis at trial.

     In this regard, the Court finds persuasive the First Circuit’s

decision in In re Pharm. Indus. Average Wholesale Price Litig., 582

F.3d 156 (1st Cir. 2009). There, the defendant appealed the district

court’s entry of a class-wide judgment, arguing “that the district

court erred in addressing only the knowledge [of the defendant’s

allegedly unlawful pricing scheme] of the named class representatives

. . . .” Id. at 194-95. Rather, the defendant argued, “there [wa]s

reason to believe that other, absent class members could have had more

refined knowledge and expectations than the class representatives did.

. . .” Id. at 195. While the First Circuit acknowledged “that, under

some circumstances, constitutional principles prohibit a court from

relying on proof relating to the class representatives to make class-

wide findings,” it also noted that “it is equally obvious that class-

action litigation often requires the district court to extrapolate

from the class representatives to the entire class.” Id. (emphasis in

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original). Indeed, such aggregate proof is the entire point of class

litigation, and Rule 23 would be near to useless if defendants who

lose at trial as to common questions could then indefinitely prolong

litigation by seeking to relitigate those questions as to each absent

class member. Id. (“[I]t would quickly undermine the class-action

mechanism were we to find that a district court presiding over a class

action lawsuit errs every time it allows for proof in the aggregate.”).

     Reger notes that, in establishing investors’ reliance on his

material   omissions,     plaintiffs    benefited     from    a    presumption   of

reliance based on the materiality of his omission that can be rebutted.

Cf. Basic v. Levinson, 485 U.S. 224, 248 (1988) (discussing how the

presumption of reliance arising from an efficient market may be

rebutted). 14
           13F   But   while   Reger   is    right   that    the   presumption   of

plaintiffs’ reliance can be rebutted, that mere possibility does not

entitle Reger to defer final judgment indefinitely while he goes on a

fishing expedition.

     Indeed, the relevant jury instruction on reliance in this case

described not just the presumption of reliance from which plaintiffs

benefitted, it also stated how that presumption could be rebutted: if

Reger proved “by a preponderance of the evidence, either that [named



     14 Here, because Dakota Plains’ stock did not trade in an efficient

market, plaintiffs sought to prove class-wide reliance based on the
presumption of reliance where there is a material omission of
information that would have been important to a reasonable investor.
Gruber, 2019 WL 4439415 at *6 (certifying a class on the basis of this
Affiliated Ute presumption); see also Affiliated Ute Citizens of Utah
v. United States, 406 U.S. 128 (1972).

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plaintiff] Mr. Gruber’s decision to purchase or sell Dakota Plains

stock would not have been different even if Mr. Reger had disclosed

the omitted fact, or that Mr. Gruber, through minimal diligence, could

have discovered the truth.” Jury Instructions at 20, Dkt. 478. Reger

did not object to that instruction. See Reger Proposed Redline of Jury

Instructions at 20, Dkt. 477; 6/10/22 Tr. 1086:1-3. 15 In other words,
                                                                 14F




Reger had the opportunity at trial to rebut the presumption of reliance

as to named plaintiff Gruber, and, if Reger had succeeded in so doing,

he would have defeated not just Gruber’s individual claim but also the

claims of all absent class members.

     Plaintiffs      adequately    proved    reliance   on   a         classwide         basis

against Reger at trial, according to jury instructions to which Reger

consented. And, notwithstanding close to two years of time to take

fact discovery, Reger has failed to present any evidence that any

individual class member was in fact aware of the actual omission

plaintiffs proved at trial. Absent some more particular showing that

the class-wide proof of reliance at trial was actually insufficient

as to particular class members, this Court will not reopen discovery

and approve further relitigation of a previously settled issue. 16                 15F




     15Reger likewise did not object to the court’s class action jury
instruction, which stated that “[a]t this trial, the class is
represented by an individual plaintiff, Jon D. Gruber. You should
assess the evidence presented and decide the issues as though Mr.
Gruber were presenting this case.” Jury Instructions at 13, Dkt. 478;
Reger Proposed Redline of Jury Instructions at 13, Dkt. 477; 6/10/22
Tr. 1073:15-21.
     16In In re Vivendi Univ., S.A. Secs. Litig., 765 F. Supp. 2d 512
(S.D.N.Y. 2011), a court in this district permitted post-trial
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     II.   Class Settlements and Award of Attorneys Fees

     This Court grants final approval to both the D&O settlement and

the Gilbertson settlement as embodied in the stipulations of settlement

previously   filed    with    this     Court    (at    Dkt.    461-1   and    462-7,

respectively), except that the Court strikes from both settlement

agreements   the   clause    “unless   any     such   person   is   found    to   have

knowingly violated the securities laws, in which case such judgment

reduction provisions shall not apply.” As discussed in Part I.A, supra,

these clauses are contrary to the plain language of the PSLRA’s

settlement offset provision and purport to waive rights belonging to




discovery on individual reliance issues notwithstanding a jury verdict
that arguably established reliance on a class-wide basis. In so doing,
the court noted a large number of other cases where courts “recognized
that issues of individual reliance can and should be addressed after
a class-wide trial, through separate jury trials if necessary.” Id.
at 584-85. But in those cases, courts merely chose to proceed with
class-wide certification anticipating that there might later be
individualized reliance inquiries as to some small number of class
members. See, e.g., Jaffe v. Household, No. 02 Civ. 5893, 2005 WL
3801463, at *4 (N.D. Ill. Apr. 18, 2005) (denying discovery into
individual claimants' reliance on the ground that issues relating to
individual reliance could be adjudicated after class-wide issues have
been determined); In re Lucent Techs. Inc. Sec. Litig., No. 00 Civ.
621(JAP), 2002 WL 32818345, at *2 (D.N.J. May 9, 2002) (delaying
discovery concerning plaintiffs' investment history until a later
stage in which “individualized rebuttal proceedings may be pursued to
determine whether a claimant may recover, once the matter of liability
has been adjudicated”). None of these cases other than Vivendi itself
condoned reopening discovery after trial and after the defendant had
ample opportunity and incentive to seek to disprove the reliance of
individual class members as part of contesting class certification
absent some clearer advance plan put in place by the court to settle
particular individual issues following class wide adjudication.

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a third party (namely, Reger) who was not a party to the settlements

and never consented to this waiver of his rights. 17          16F




      This Court preliminarily approved both settlements on June 6,

2022 following an initial hearing on May 31, 2022. It subsequently

held a final fairness hearing on November 18, 2022. Between the initial

and   final     hearings,    notice   was     provided   to     the   class   of   both

settlements in accordance with Fed. R. Civ. P. 23(e)(1). No class

member submitted any objection to either settlement, whether in writing

or orally. This absence of objections weighs strongly in favor of a

finding that “the relief provided for the class is adequate, taking

into account: (i) the costs, risks, and delay of trial and appeal;

(ii) the effectiveness of any proposed method of distributing relief

to the class, including the method of processing class-member claims;

(iii) the terms of any proposed award of attorney's fees, including

timing of payment; and (iv) any agreement required to be identified

under Rule 23(e)(3). . . .” Fed R. Civ. P. 23(e)(1)(C); Wal-Mart

Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 118 (2d Cir. 2005)

(“If only a small number of objections are received, that fact can be

viewed as indicative of the adequacy of the settlement.”).

      Further, the Court agrees with the apparent judgment of absent

class members that both settlements were fair and adequate in view of

the complexity of this litigation, the risks that plaintiffs would




       As described above in Part I.A.2, the Court concludes the
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class is not prejudiced by this change.

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have run in establishing liability or proving damages at trial and

sustaining     any    verdict    on    appeal,    significant    doubt       that   either

Gilbertson or Dakota Plains’ officers could have made good on a larger

judgment, and the significant recovery the D&O settlement represents

as a percentage of potential total damages. Wal-Mart, 296 F.3d at 118-

20 (discussing these factors). The Court also has no trouble concluding

that these settlements were negotiated at arm’s length, that Mr. Gruber

and his counsel have adequately represented the class, and that the

settlements treat class members equitably relative to each other. Rule

23(e)(2)(A)-(B), (D).

     The     Court    likewise     approves      the   application     by    plaintiffs’

counsel     (which    includes     Class    Counsel,     Cera   LLP,    together     with

MoloLamken LLP, and Abraham Fruchter & Twersky, LLP) for fees amounting

to one-third of the D&O settlement fund, or $4,649,535.00, plus

interest thereon since deposit, as well as for reimbursement of

$1,062,373.62 in out-of-pocket costs and expenses incurred in the

prosecution of this action through May 31, 2022. The notice provided

to class members in compliance with Federal Rule of Civil Procedure

Rule 23(h)(1) informed class members that plaintiffs’ counsel intended

to move for an award of fees in this amount and up to $1.5 million in

litigation expenses. Following that notice, no class member objected.

     In evaluating this request, the Court considers “(1) the time and

labor expended by counsel; (2) the magnitude and complexities of the

litigation;     (3)   the   risk      of   the   litigation;    (4)    the    quality   of

representation; (5) the requested fee in relation to the settlement;

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and (6) public policy considerations.” Goldberger v. Integrated Res.,

Inc., 209 F.3d 43, 49 (2d Cir. 2000). Each factor supports plaintiffs’

counsel’s application.

      Plaintiffs’ counsel calculate that they spent 23,079.53 hours

prosecuting this action from February 2017 through reaching the D&O

settlement on May 31, 2022, an amount of time that is not unreasonable

given the need for initial investigations, extensive fact and expert

discovery, and extensive pretrial motion practice, including motions

to   dismiss,   class   certification,     Daubert,   and   summary   judgment

briefing. Plaintiffs’ counsel made this very significant investment

of time and resources notwithstanding uncertainty to plead claims for

relief under the PSLRA, to establish liability, obtain and maintain

class certification, prove loss causation, and prove damages.              The

defendants vigorously contested the claims of the class at every stage

of the litigation, and plaintiffs’ counsel assumed the risk of this

litigation working on a fully contingent basis.

      The quality of plaintiffs’ counsel is demonstrated not just by

the absence of any class members’ objections to their award, and this

Court’s own observations, but also by the objective result, which

involved achieving a settlement representing 93% of the O&D defendants’

remaining insurance. Plaintiffs’ counsel achieved this result only by

prevailing in numerous stages of motion practice throughout this

litigation.

      The requested fee of 1/3 the settlement, though at the high end

of what this and other courts regularly award, nonetheless falls in

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an acceptable range. See 5 Newberg and Rubenstein on Class Actions §

15:83 (6th ed. 2022 Update) (stating that older empirical studies

generally found fee awards in class actions to average to one-third

of the recovery, while “[m]ore recent empirical data” shows fees

generally     averaging   around   25%,    with   higher   fees   still    commonly

awarded). Moreover, a “lodestar” crosscheck shows that a 1/3 fee would

amount to a negative multiplier on plaintiffs’ counsel’s expenditure

of hours and usual billing rates, given the amount of time they have

spent prosecuting this action. Although that calculation is perhaps

somewhat misleading in that plaintiffs’ counsel will presumably apply

for further fees based in part on the same hours in connection with

their judgment against Reger, it nonetheless demonstrates that a fee

award in the amount plaintiffs’ counsel requests would not constitute

anything approaching a windfall. Finally, this Court is mindful of the

need to incentivize plaintiffs’ counsel to bring cases such as this

one -- usually, as here, on contingency.

     For these reasons, the Court finds the attorneys’ fee award and

expense reimbursement are justified.

     III. Conclusion

     For the foregoing reasons, the Court directs that the judgment

against     Reger   be    offset   for    both    Gilbertson’s    50%     share   of

responsibility and the amount of the O&D settlement. The claims

administrator should calculate class members’ damages and evaluate

claims against Reger in accordance with this Opinion. The Court grants

final approval to both the O&D and Gilbertson settlements, and also

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